                      Case 1:21-cr-00147-CKK Document 1 Filed 02/05/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
VIRGINIA MARIE SPENCER (AKA: JENNY SPENCER)                          )      Case No.
                DOB: XXXXXX                                          )
                                                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of                    January 6, 2021              in the county of                                        in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description
        18 U.S.C. § 1752(a)(1)-(2) - Knowingly Entering or Remaining in any Restricted Building or
        Grounds Without Lawful Authority,
        40 U.S.C. § 5104(e)(2)(D),(G) - Violent Entry and Disorderly Conduct on Capitol Grounds.




         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                       Deryck W. Parks, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                           Digitally signed by G. Michael
                                                                                                           Harvey
                                                                                                           Date: 2021.02.05 17:58:47 -05'00'
Date:             02/05/2021
                                                                                                 Judge’s signature

City and state:                         :DVKLQJWRQ'&                   G. MICHAEL HARVEY, US MAGISTRATE JUDGE
                                                                                               Printed name and title
